              Case 20-10343-LSS        Doc 1456      Filed 10/09/20     Page 1 of 2




                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

  In re:                                               Chapter 11

  BOY SCOUTS OF AMERICA AND                            Case No. 20-10343 (LSS)
  DELAWARE BSA, LLC,
                                                       (Jointly Administered)
                         Debtors.
                                                       Re: D.I. 34

                        NOTICE OF SUBSTITUTION OF COUNSEL

         PLEASE TAKE NOTICE AND WITHDRAW THE APPEARANCE of Brett D.

Fallon, Esq., formerly of Morris James LLP, as counsel for Old Republic Insurance Company (the

“Company”).

         PLEASE TAKE FURTHER NOTICE AND ENTER THE APPEARANCE of Stephen

M. Miller, Esq. and Carl N. Kunz, III, of Morris James LLP, as counsel for the Company. The

Company will continue to be represented by Margaret M. Anderson, Esq., of Fox Swibel Levin

& Carroll LLP, and the Company hereby requests, pursuant to Fed. R. Bankr. P. 2002, 3017 and

9007, Del. Bankr. L.R. 2002-1, and 11 U.S.C. §§ 342 and 1109(b), that copies of all notices and

pleadings given or filed in this case be given and served upon them at the following addresses, and

facsimile and telephone numbers:

   Stephen M. Miller (DE Bar No. 2610)              Margaret M. Anderson, Esq.
   Carl N. Kunz, III (DE Bar No. 3201)              Fox Swibel Levin & Carroll LLP
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12178443/1
             Case 20-10343-LSS   Doc 1456     Filed 10/09/20   Page 2 of 2




Dated: October 9, 2020           MORRIS JAMES LLP

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                                 Attorneys for Old Republic Insurance Company

Dated: October 9, 2020           FAEGRE DRINKER BIDDLE & REATH LLP

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                                 Withdrawing Attorney for Old Republic Insurance
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                                        2
12178443/1
